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                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF SOUTH DAKOTA

                                    WESTERN DIVISION


 UNITED STATES OF AMERICA,                             5:14-CR-50048-KES

                      Plaintiff,
                                               ORDER ON MOTION TO DISMISS
       vs.                                    THE SUPERSEDING INDICTMENT,
                                              MOTION TO RECUSE, AND MOTION
 GERALD WAYNE LEBEAU and                                 TO JOIN
 NEIL THOMAS LEBEAU,

                      Defendants.


       Pending are pretrial motions filed by defendants Gerald Wayne LeBeau

 and Neil Thomas LeBeau.

                                      BACKGROUND

       Defendants were indicted on May 20, 2014, on one count of conspiracy

 to distribute a controlled substance (cocaine) and one count of conspiracy to

 distribute a controlled substance (marijuana). Gerald was also indicted on a

 separate count alleging possession with intent to distribute a controlled

 substance (cocaine). On August 26, 2014, the government filed a superseding

 indictment charging the three previous counts and adding a fourth count

 charging Gerald with witness tampering.

       Defendants have filed numerous motions. This court now addresses the

 following motions:
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       1.    Gerald’s motion to dismiss the superseding indictment for a due
             process violation (Docket 151).

       2.    Gerald’s motion for recusal (Docket 211).

       3.    Neil’s motion to join Gerald’s motion for recusal (Docket 244).

                                   DISCUSSION

 I.    Motion to Dismiss the Superseding Indictment

       Gerald argues that the prosecution’s failure to preserve video recordings

 allegedly containing exculpatory evidence requires dismissal of the charges

 against Gerald. Docket 152. The United States responded, asserting that the

 video recordings were never in its control and that Gerald has not shown any

 bad faith. Docket 172.

       The evidence in question is surveillance footage taken by Cadillac Jack’s

 Hotel and Casino on January 10, 2014. Gerald contends the video footage

 would show “that Tyra Smith is not Jessica Fields, that [Gerald] did not

 consent to any search, and that Agent Tolsma entered [Gerald’s] room without

 consent.” Docket 152 at 1. Gerald also argues that the failure to preserve the

 video footage amounts to bad faith. Id. at 2.

       In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court held that

 “the suppression by the prosecution of evidence favorable to the accused upon

 request violates due process where the evidence is material either to guilt or to

 punishment, irrespective of the good faith or bad faith of the prosecution.” Id.

 at 87. When the exculpatory value is not known, however, a showing of bad

 faith is necessary. See Arizona v. Youngblood, 488 U.S. 51, 57-58 (1988).


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 “[U]nless a criminal defendant can show bad faith on the part of the police,

 failure to preserve potentially useful evidence does not constitute a denial of

 due process of law.” Id. at 58.

       Gerald does not provide any indication of what he thinks the tapes may

 show. The government states that law enforcement viewed the surveillance

 footage to see which room the individual they believed to be Jessica Fields

 entered. See Docket 172 at 1. Despite Gerald’s unsupported claims that the

 evidence on the tapes would have been clearly exculpatory, the actual

 evidentiary value of the tapes is unclear. Rather than showing that the

 evidence in question would be material to his guilt or potential punishment,

 Gerald only argues that the footage would assist him in litigating his

 suppression motion. Because the exculpatory value of the evidence in question

 is unclear, this case is more like Youngblood than Brady. See Youngblood, 488

 U.S. at 57 (distinguishing Brady from circumstances in which the prosecution

 failed to preserve evidence of unknown exculpatory value). Gerald’s failure to

 make any showing of bad faith on the part of the prosecution is fatal to his

 claim. Id. (“Our decisions in related areas have stressed the importance for

 constitutional purposes of good or bad faith on the part of the Government

 when the claim is based on loss of evidence attributable to the Government.”).

       Gerald nonetheless urges the court to apply Brady and find a due

 process violation without inquiring into whether the government acted in bad

 faith. Docket 152 at 2-3. The government never possessed the footage, so

 Gerald’s argument that counsel’s preservation request put the government on

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 notice that it would be required to turn over the tapes is unpersuasive.1 See

 Docket 152-1 at 5 (boilerplate request for preservation of evidence directed at

 evidence already in the possession, custody, or care of the government). It is

 also unclear whether the government received Gerald’s request in time to

 preserve the evidence. See Docket 152 at 2 (claiming the videos were preserved

 for at least ten days); Docket 152-1 (preservation letter dated five days after

 Gerald’s arrest). “Brady does not require the government to discover

 information not in its possession or of which it was not aware.” United States v.

 Heppner, 519 F.3d 744, 750 (8th Cir. 2008) (citing United States v. Turner, 104

 F.3d 217, 220 (8th Cir. 1997)). Gerald does not argue, much less provide any

 evidence, that the government ever possessed or constructively possessed the

 footage in question.

       “[E]vidence is material only if there is a reasonable probability that, had

 the evidence been disclosed to the defense, the result of the proceeding would

 have been different.” United States v. Bagley, 473 U.S. 667, 682 (1985). Gerald

 provides no evidence or argument, other than speculation, that material

 exculpatory information might be found on the video recordings. Because

 Gerald’s assertion is wholly conclusory, the court has no way of determining if

 the footage is material. Such speculation is insufficient to establish a Brady

 violation. See United States v. Agurs, 427 U.S. 97, 109-10 (1976) (“The mere

 possibility that an item of undisclosed information might have helped the

       1 In his reply, Gerald focuses only on the obligation created by the

 preservation request and does not discuss Brady or Youngblood. See Docket
 204 at 10-11.
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 defense, or might have affected the outcome of the trial, does not establish

 ‘materiality’ in the constitutional sense.”).

       Gerald also makes no showing that he was unaware of the footage or that

 he could not have obtained the footage through the exercise of the same

 diligence he would require of the prosecution. “Evidence equally available to the

 defendant by the exercise of due diligence means that the government is not

 obligated under Brady to produce it. Similarly, if the defendant knows about

 the exculpatory information, then the government’s failure to disclose it is not a

 Brady violation.” 2 Charles Alan Wright et al., Federal Practice & Procedure

 Criminal § 256 (4th ed.).

       Brady did not create a discovery rule. See Bagley, 473 U.S. at 675 n.7

 (quoting Giles v. Maryland, 386 U.S. 66, 117 (1967) (Harlan, J., dissenting))

 (“An interpretation of Brady to create a broad, constitutionally required right of

 discovery ‘would entirely alter the character and balance of our present

 systems of criminal justice.’ ”) Gerald asks the court to dismiss the charges

 against him because a third party destroyed evidence of unknown probative

 value in its normal course of business. That is not the proper application of

 Brady. Even without inquiring into whether the government acted in bad faith,

 Gerald has not shown a Brady violation. Gerald’s motion to dismiss the

 superseding indictment (Docket 151) is denied.




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 II.   Motion for Recusal

       Gerald moves this court to recuse itself from any further involvement in

 this case. Docket 211.2 Specifically, Gerald contends that this court’s

 familiarity with the prosecutor and case agent, and with Gerald’s past criminal

 cases, creates an appearance of impropriety sufficient to justify recusal. Docket

 212 at 5-6 (listing alleged conflicts). The United States has not responded to

 the motion.

       “Any justice, judge, or magistrate just of the United States shall

 disqualify himself in any proceeding in which his impartiality might reasonably

 be questioned.” 28 U.S.C. § 455(a). This section imposes an objective standard,

 requiring a judge to determine “ ‘whether the judge’s impartiality might

 reasonably be questioned by the average person on the street who knows all

 the relevant facts of a case.’ ” Hammer v. Sam’s East, Inc., 754 F.3d 492, 503

 (8th Cir. 2014) (quoting In re Kan. Pub. Emp. Ret. Sys., 85 F.3d 1353, 1358 (8th

 Cir. 1996)). Section 455 separately lays out specific circumstances in which

 recusal is also required, including situations where a judge has a bias or

 prejudice concerning a party or personal knowledge of disputed facts, where a

 judge was previously in private practice with a lawyer on the matter in

 controversy, or where a judge was in government employment and expressed

 an opinion concerning the merits of the particular case. See 28 U.S.C. § 455(b).

 “Because a ‘judge is presumed to be impartial,’ a party seeking recusal ‘bears

       2 Neil moves to join Gerald’s motion for recusal. Docket 244. The motion

 to join is granted.

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 the substantial burden of proving otherwise.’ ” Id. (quoting United States v.

 Denton, 434 F.3d 1104, 1111 (8th Cir. 2006)).

       Gerald bases his argument in part on the court’s past professional

 relationship with Assistant United States Attorney McBride and FBI Special

 Agent Cooper. Docket 212 at 1-3, 5. According to Gerald, the court developed a

 familiarity with McBride and Cooper while the court served as United States

 Attorney almost 16 years ago. Gerald does not contend that the court has any

 familial, personal, or financial connections that appear improper.

       Gerald provides no authority holding that a past professional

 relationship suggests an appearance of impropriety. Gerald’s assertion would

 prevent this court from presiding over most, if not all, criminal cases in this

 district. And given the relatively small bar in the state of South Dakota, most

 judges would encounter similar problems.

       The court does not believe there is any appearance of impropriety in this

 case due to its professional familiarity with Attorney McBride and Special Agent

 Cooper. The court left the United States Attorney’s Office almost 16 years ago.

 Additionally, the mere existence of a professional relationship does not create

 an objectively reasonable doubt about a judge’s impropriety. See Blalock v.

 United States, 844 F.2d 1546, 1552 (11th Cir. 1988) (dismissing an argument

 “that the district judge should have recused himself because his favorable

 relationship with the prosecutor and the FBI agents destroyed his

 impartiality”). The court sees no specific facts in this case suggesting an

 appearance of impropriety based on past professional relationships.

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       Gerald also contends that the court’s familiarity with him gives the court

 knowledge of factual issues and evidentiary issues that may have led the court

 to develop a negative impression of Gerald.3 The court has no first-hand

 knowledge of the facts in Gerald’s past case or in this case. Any information

 known to the court about Gerald’s previous case the court learned in the

 course of the criminal proceedings and jury trial. Such knowledge does not

 require recusal. See Liteky v. United States, 510 U.S. 540, 550-51 (1994)

 (noting it is “normal and proper for a judge to sit in the same case upon its

 remand, and to sit in successive trials involving the same defendant”). Also, the

 fact that the court found by a preponderance of the evidence that Gerald had

 used a controlled substance and revoked his supervised release does not reflect

 a bias against Gerald—Gerald admitted to the violation of his conditions of

 supervised release. See Docket 212-4 at 3 (admitting to possession and use of a

 controlled substance). At that hearing, the court went on to make several

 positive comments about Gerald. See id. at 16-17 (telling Gerald that he had

 done well at first on supervision and that probation was there to help him); id.

 at 18 (“I give you a lot of credit for doing as well as you did for over a year and a

 half.”). Gerald’s argument regarding a bias against him is unfounded.

       The court’s past professional familiarity with Attorney McBride and

 Special Agent Cooper and the court’s familiarity with Gerald’s past do not

       3 It is unclear whether Gerald believes the court’s allegedly negative

 impression stems from Gerald’s past criminal conduct or the fact that Gerald
 appealed the court’s decisions twice. See Docket 212 at 6. Neither basis is true
 and neither basis creates an appearance of impropriety.

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 create any reasonable question as to the court’s impartiality. The court sees no

 reason that its continued involvement in this case might create any doubt as to

 the integrity of the judicial system.4 Instead, defense counsel appears to be

 “grasping at straws blowing in the wind in order to litigate this case further.”

 Hammer, 754 F.3d at 504. The motion to recuse brought by Gerald and joined

 by Neil is denied.

                                   CONCLUSION

       Gerald LeBeau has not shown any basis for dismissal under either Brady

 or Youngblood. Gerald and Neil LeBeau have not shown any basis for recusal.

 Accordingly, it is

       ORDERED that Gerald LeBeau’s motion to dismiss the superseding

 indictment (Docket 151) is denied.

       IT IS FURTHER ORDERED that Neil LeBeau’s motion to join (Docket

 244) is granted. The motion for recusal brought by Gerald LeBeau and joined

 by Neil LeBeau (Docket 211) is denied.

       Dated June 16, 2015.

                                       BY THE COURT:


                                       /s/Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE



       4 Gerald also argues that a “[r]efusal to recuse in this case would rise to

 the level of a due process violation.” Docket 212 at 6. Gerald provides no
 support for that argument. Because Gerald has not developed this argument
 beyond a conclusory statement, the court does not address it.
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